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                             UNITED STATES DISTRICT CO URT
                             SO UTHERN DISTRICT OF FLORIDA

                      CA SE N O .:18-14409-C V -M lD D LEBR O O K SN aynard

  D AV ID BY RON and PA UL HO RNER , proposed
  classrepresentativesand individually,

         Plaintiff,


  A M CREST IN DU STRJES,LLC ,and FU JIAN
  NAN 'AN BAOFENG ELECTRONICS CO ., LTD .,

         Defendants.
                                                   /

                                 O RDER DISM ISSING CASE

         THIS CAUSE comesbeforetheCourtonPlaintiffsDavidByron and PaulHorner'sNotice

  ofVollmtary Dismissalwith prejudice ofDefendantAmcrestIndustries,LLC fsled on Jtme 4,
  2019.(DE 51). Plzrsuantto Rule41(a)oftheFederalRulesofCivilProcedure,aplaintiffmay
  vollmtarily dismissadefendantby tiling anotice ofdismissalbeforethe opposing party serves
  eitheranansweroramotionforsllmmaryjudgment.SeeFed.R.Civ.P.41(a)(1)(A)(i).Defendant
  AmcrestIndustries,LLC hasserved neitherfling. A ccordingly,D efendantA m crest Industries,

  LLC isdismissedwithprejudice.
        Additionally,Ientered an Orderon M ay 30, 2019 requiring Plaintiffto tsle astatusreport

  regardingthestatusofthelitigation againstDefendantFujian Nan'an Baofeng ElectronicsCo.,
  Ltd.tçTujialf'lbyJune5,2019.(DE 50).ProofofserviceonDefendantFujianhasnotbeenfiled
  andno attomeyforFujian hasapperedinthiscase.ThedeadlinebywhichPlaintiffhadtoserve
  DefendantswasJanuary 3,2019,and Plaintiffhaspreviously been warned ofthepast-dueservice

  deadline.(DE 36).Plaintiffhmsnow failedtotimelyfileastatusreportregrdingitsclaimsagainst
  Fujian.
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        ItA districtcourthasthe inherentauthority to manage itsdocketand thusm ay dismissan

  action sua sponteforfailtlreto prosecute.'' Nailv.Collado,737 Fed.Appx.960, 962(11th Cir.

  2018);seealso Linkv.Wabash R.Co.,370U.S.626,629 (1962)(holding thatFed.R.Civ.P.
  41(b)allowsdistrictcourtstodismisscasessuaspontej.DuetoPlaintiffsfailmetoserveFujian
  andfailtlretotimelyfileastatusreport,PlaintiffsdaimsagainstDefendantFujianaredismissed
  withoutprejudiceptlrsuanttoFed.R.Civ.P.41(a)(2).
        O RD ERED and O JUD G ED that

        (1)PlaintiffsclaimsagainstDefendantAmcrestIndustdes,LLC areDISM ISSED W ITH
           PR EJUD IC E.

        (2)PlaintiffsclaimsagainstDefendantFujianNan'an Baofeng ElectronicsCo.,Ltd.are
           D ISM ISSED W ITH O U T PR EJUD IC E.

        (3)The Clerk ofCourtshallCLOSE this CASE and DENY a1lpending motionsAS
           M O O T.

        SIGNED in Cham bersin W estPalm Beach,Florida,tlli       day ofJune,2019.




                                          D O A LD M . D D LEBRO OK S
                                          UN ITED STA TES D ISTRICT JUD GE
  CC*   CotmselofRecord
